                Case 2:11-cr-00454-JAM Document 62 Filed 09/07/12 Page 1 of 3


     JOHN R. MANNING (SBN 220874)
 1   ATTORNEY AT LAW
 2
     1111 H Street, # 204
     Sacramento, CA. 95814
 3   (916) 444-3994
     Fax (916) 447-0931
 4

 5
     Attorney for Defendant
     JOSEPH ANDRADE
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-454-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       [PROPOSED] FINDINGS AND ORDER
12
     JOSEPH ANDRADE and                              )
                                                     )
13   JONATHAN SHERMAN,                               )       Date: October 19, 2012
                                                     )       Time: 9:00 a.m.
14
             Defendants.                             )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Jill Thomas, Assistant
18

19   United States Attorney, together with counsel for defendant Joseph Andrade, John R. Manning,

20   Esq., and counsel for defendant Jonathan Sherman, Shari Rusk, Esq., hereby stipulate the
21
     following:
22
          1. By previous order, this matter was set for status conference on September 7, 2012.
23

24
          2. By this stipulation, defendants now move to continue the status conference until October

25   19, 2012 and to exclude time between September 7, 2012 and October 19, 2012 under the Local
26
     CodeT-4 (to allow defense counsel time to prepare).
27
          3. The parties agree and stipulate, and request the Court find the following:
28




                                                         1
              Case 2:11-cr-00454-JAM Document 62 Filed 09/07/12 Page 2 of 3


            a. Counsel for the defendants need additional time to review the discovery and conduct
 1

 2              investigation.

 3          b. Currently the discovery in this case includes 2,962 pages, 14 video DVDs, and 1
 4
                audio CD.
 5
            c. Counsel for defendants believe the failure to grant a continuance in this case would
 6

 7
                deny defense counsel reasonable time necessary for effective preparation, taking into

 8              account the exercise of due diligence.
 9          d. The Government does not object to the continuance.
10
            e. Based on the above-stated findings, the ends of justice served by granting the
11
                requested continuance outweigh the best interests of the public and the defendants in
12

13              a speedy trial within the original date prescribed by the Speedy Trial Act.

14          f. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
15
                Section 3161(h)(7)(A) within which trial must commence, the time period of
16
                September 7, 2012 to October 19, 2012, inclusive, is deemed excludable pursuant to
17
                18 United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to
18

19              Local Code T-4 because it results from a continuance granted by the Court at

20              defendant’s request on the basis of the Court’s finding that the ends of justice served
21
                by taking such action outweigh the best interest of the public and the defendant in a
22
                speedy trial.
23
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
24

25   Speedy Trial Act dictate that additional time periods are excludable from the period within which

26   a trial must commence.
27
        IT IS SO STIPULATED.
28




                                                      2
                             Case 2:11-cr-00454-JAM Document 62 Filed 09/07/12 Page 3 of 3


     Dated: September 4, 2012                                             /s/ John R. Manning
 1
                                                                         JOHN R. MANNING
 2                                                                       Attorney for Defendant
                                                                         Joseph Andrade
 3
     Dated: September 4, 2012                                             /s/ Shari Rusk
 4
                                                                         SHARI RUSK
 5                                                                       Attorney for Defendant
                                                                         Jonathan Sherman
 6

 7
     Dated: September 4, 2012                                            Benjamin B. Wagner
 8                                                                       United States Attorney
 9                                                               by:     /s/ Jill Thomas
10
                                                                         JILL THOMAS
                                                                         Assistant U.S. Attorney
11
                                                        ORDER
12

13                          IT IS SO FOUND AND ORDERED.

14   Date: 9/7/2012

15
                                                    ___________________________________
16                                                  GARLAND E. BURRELL, JR.
                                                    Senior United States District Judge
17   DEAC_Sig nature-END:




18
     61khh4bb
19

20

21

22

23

24

25

26

27

28




                                                            3
